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                       EXHIBIT 4
             Case 8:25-cv-01335                      Document 1-4                 Filed 06/20/25               Page 2 of 12 Page ID #:50


       Generated on: This page was generated by TSDR on 2025-06-20 14:42:16 EDT
                 Mark: IN-N-OUT




  US Serial Number: 73738306                                                        Application Filing Jul. 05, 1988
                                                                                                Date:
     US Registration 1525982                                                       Registration Date: Feb. 21, 1989
           Number:
             Register: Principal
           Mark Type: Trademark, Service Mark
     TM5 Common Status                                                           LIVE/REGISTRATION/Issued and Active
            Descriptor:
                                                                                 The trademark application has been registered with the Office.



               Status: The registration has been renewed.
         Status Date: Mar. 02, 2019
Publication Date:Nov. 29, 1988

                                                                   Mark Information
          Mark Literal IN-N-OUT
           Elements:
 Standard Character No
            Claim:
       Mark Drawing 3 - AN ILLUSTRATION DRAWING WHICH INCLUDES WORD(S)/ LETTER(S) /NUMBER(S)
              Type:
           Lining and THE DRAWING IS LINED FOR THE COLORS RED AND YELLOW.
             Stippling
           Statement:
       Design Search 24.15.25 - Other arrows
            Code(s): 26.17.12 - Angles (geometric); Chevrons

                                                      Related Properties Information
 Claimed Ownership 1031095, 1031096, 1023506, 1085163, 1101628, 1281821 and others
              of US
      Registrations:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: MILK AND FRENCH FRIED POTATOES FOR CONSUMPTION ON OR OFF THE PREMISES
         International 029 - Primary Class                                              U.S Class(es): 046
            Class(es):
        Class Status: ACTIVE
            First Use: Apr. 1988                                                   Use in Commerce: Apr. 1988

                  For: HAMBURGER SANDWICHES AND CHEESEBURGER SANDWICHES, HOT COFFEE, AND MILKSHAKES FOR CONSUMPTION
                       ON OR OFF THE PREMISES
         International 030 - Primary Class                                              U.S Class(es): 046
            Class(es):
                Case 8:25-cv-01335              Document 1-4         Filed 06/20/25            Page 3 of 12 Page ID #:51

          Class Status: ACTIVE
             First Use: Apr. 1988                                     Use in Commerce: Apr. 1988

                  For: LEMONADE AND SOFT DRINKS FOR CONSUMPTION ON OR OFF THE PREMISES
          International 032 - Primary Class                               U.S Class(es): 045
             Class(es):
          Class Status: ACTIVE
             First Use: Apr. 1988                                     Use in Commerce: Apr. 1988

                  For: RESTAURANT SERVICES AND CARRY-OUT RESTAURANT SERVICES
          International 042 - Primary Class                               U.S Class(es): 100
             Class(es):
          Class Status: ACTIVE
             First Use: Apr. 1987                                     Use in Commerce: Apr. 1987

                                                 Basis Information (Case Level)
            Filed Use: Yes                                               Currently Use: Yes
             Filed ITU: No                                                Currently ITU: No
            Filed 44D: No                                                Currently 44D: No
            Filed 44E: No                                                Currently 44E: No
            Filed 66A: No                                                Currently 66A: No
      Filed No Basis: No                                             Currently No Basis: No

                                                 Current Owner(s) Information
          Owner Name: IN-N-OUT BURGERS
     Owner Address: 4199 CAMPUS DRIVE, NINTH FLOOR
                    IRVINE, CALIFORNIA UNITED STATES 92612
   Legal Entity Type: CORPORATION                                      State or Country CALIFORNIA
                                                                      Where Organized:

                                              Attorney/Correspondence Information
                                                              Attorney of Record
     Attorney Name: Valerie Sarigumba                                   Docket Number: IOB-30
    Attorney Primary rblake@innout.com                                   Attorney Email Yes
     Email Address:                                                         Authorized:
                                                                   Correspondent
     Correspondent Valerie Sarigumba
     Name/Address: IN-N-OUT BURGER
                   4199 CAMPUS DRIVE, NINTH FL
                   IRVINE, CALIFORNIA UNITED STATES 92612
                Phone: 949-509-6289                                                Fax: 949-509-6378
   Correspondent e- rblake@innout.com vsarigumba@innout.com            Correspondent e- Yes
              mail:                                                     mail Authorized:
                                                      Domestic Representative - Not Found

                                                      Prosecution History
                                                                                                                       Proceeding
   Date               Description
                                                                                                                       Number
May 06, 2020       NOTICE OF SUIT
Apr. 01, 2020      NOTICE OF SUIT
Mar. 02, 2019      NOTICE OF ACCEPTANCE OF SEC. 8 & 9 - E-MAILED
Mar. 02, 2019      REGISTERED AND RENEWED (SECOND RENEWAL - 10 YRS)
Mar. 02, 2019      REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
Feb. 26, 2019      TEAS SECTION 8 & 9 RECEIVED
Apr. 04, 2018      NOTICE OF SUIT
                Case 8:25-cv-01335             Document 1-4             Filed 06/20/25             Page 4 of 12 Page ID #:52

Mar. 05, 2018      NOTICE OF SUIT
Mar. 16, 2017      NOTICE OF SUIT
Mar. 16, 2017      NOTICE OF SUIT
Feb. 16, 2017      NOTICE OF SUIT
Feb. 16, 2017      NOTICE OF SUIT
Sep. 19, 2012      NOTICE OF SUIT
Jan. 04, 2010      NOTICE OF SUIT
Sep. 08, 2008      REGISTERED AND RENEWED (FIRST RENEWAL - 10 YRS)
Sep. 08, 2008      REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
Aug. 20, 2008      ASSIGNED TO PARALEGAL
Aug. 01, 2008      REGISTERED - COMBINED SECTION 8 (10-YR) & SEC. 9 FILED
Aug. 01, 2008      PAPER RECEIVED
Jul. 28, 2008      CASE FILE IN TICRS
Jul. 01, 2008      NOTICE OF SUIT
Jun. 25, 2008      NOTICE OF SUIT
Jun. 16, 2008      NOTICE OF SUIT
Jun. 02, 2008      NOTICE OF SUIT
May 20, 2008       NOTICE OF SUIT
Jun. 30, 1995      REGISTERED - SEC. 8 (6-YR) ACCEPTED & SEC. 15 ACK.
Nov. 16, 1994      REGISTERED - SEC. 8 (6-YR) & SEC. 15 FILED
Feb. 21, 1989      REGISTERED-PRINCIPAL REGISTER
Nov. 29, 1988      PUBLISHED FOR OPPOSITION
Oct. 29, 1988      NOTICE OF PUBLICATION
Aug. 17, 1988      APPROVED FOR PUB - PRINCIPAL REGISTER
Aug. 15, 1988      ASSIGNED TO EXAMINER
Aug. 15, 1988      ASSIGNED TO EXAMINER

                                              TM Staff and Location Information
                                                                TM Staff Information - None
                                                                       File Location
   Current Location: GENERIC WEB UPDATE                                    Date in Location: Mar. 02, 2019

                                                                 Proceedings
   Summary
          Number of 7
        Proceedings:

                                                 Type of Proceeding: Opposition

           Proceeding 91252096                                                    Filing Date: Nov 06, 2019
             Number:
                Status: Terminated                                               Status Date: Feb 26, 2020
          Interlocutory MIKE WEBSTER
              Attorney:
                                                                       Defendant
                 Name: WinIT proposals, LLC
      Correspondent SHERRI E BIANCO
           Address: 11314 KINGS VALLEY DRIVE
                    DAMASCUS MD UNITED STATES , 20872
   Correspondent e- winit.proposals@gmail.com
              mail:
Associated marks
                                                                                                                                Registration
   Mark                                                                                Application Status       Serial Number
                                                                                                                                Number
IN & OUT GRAPHIX                                                                                              88333837
                                                                       Plaintiff(s)
              Case 8:25-cv-01335             Document 1-4             Filed 06/20/25             Page 5 of 12 Page ID #:53

                Name: In-N-Out Burgers
      Correspondent VALERIE SARIGUMBA
           Address: 4199 CAMPUS DRIVE 9TH FLOOR
                    IRVINE CA UNITED STATES , 92612
    Correspondent e- vsarigumba@innout.com
               mail:
Associated marks
                                                                                                                                Registration
    Mark                                                                             Application Status       Serial Number
                                                                                                                                Number
IN-N-OUT                                                                                                    75137201          2285823
IN-N-OUT                                                                                                    73133175          1085163
IN-N-OUT                                                                                                    73133174          1101638
IN-N-OUT                                                                                                    73133176          1101628
IN-N-OUT                                                                                                    75396996          2217307
IN-N-OUT                                                                                                    73738305          1522799
IN-N-OUT                                                                                                    73738306          1525982
IN-N-OUTBURGER                                                                                              75158254          2285842
                                                                 Prosecution History
    Entry Number           History Text                                                                       Date              Due Date
7                       TERMINATED                                                                          Feb 26, 2020
6                       BD DECISION: OPP SUSTAINED                                                          Feb 26, 2020
5                       W/DRAW OF APPLICATION W/O CONSENT                                                   Feb 17, 2020
4                       ANSWER                                                                              Nov 24, 2019
3                       INSTITUTED                                                                          Nov 06, 2019
2                       NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                            Nov 06, 2019      Dec 16, 2019
1                       FILED AND FEE                                                                       Nov 06, 2019

                                                        Type of Proceeding: Opposition

            Proceeding 91217195                                                 Filing Date: May 30, 2014
              Number:
               Status: Terminated                                              Status Date: Sep 23, 2014
           Interlocutory ROBERT COGGINS
               Attorney:
                                                                     Defendant
                Name: IN-N-OUT Grooming
      Correspondent IN-N-OUT GROOMING
           Address: 7300 BROMPTON ST , APT 4723
                    HOUSTON TX UNITED STATES , 77025-2166
    Correspondent e- Josh.Mica@gmail.com
               mail:
Associated marks
                                                                                                                                Registration
    Mark                                                                             Application Status       Serial Number
                                                                                                                                Number
IN-N-OUT GROOMING                                                                                           85934540
                                                                     Plaintiff(s)
                Name: In-N-Out Burgers
      Correspondent VALERIE SARIGUMBA
           Address: IN-N-OUT BURGERS
                    4199 CAMPUS DR, 9TH FLOOR
                    IRVINE CA UNITED STATES , 92612
    Correspondent e- vsarigumba@innout.com , rblake@innout.com
               mail:
Associated marks
                                                                                                                                Registration
    Mark                                                                             Application Status       Serial Number
                                                                                                                                Number
IN-N-OUT                                                                                                    73133175          1085163
IN-N-OUT                                                                                                    73738305          1522799
               Case 8:25-cv-01335               Document 1-4              Filed 06/20/25             Page 6 of 12 Page ID #:54

IN-N-OUT                                                                                                        73738306           1525982
IN-N-OUT                                                                                                        73133176           1101628
IN-N-OUT                                                                                                        73133174           1101638
IN-N-OUT                                                                                                        75396996           2217307
IN-N-OUT BURGER                                                                                                 73724456           1514689
IN-N-OUT BURGER                                                                                                 74622923           1960015
                                                                    Prosecution History
     Entry Number           History Text                                                                           Date              Due Date
7                        TERMINATED                                                                             Sep 23, 2014
6                        BD DECISION: DISMISSED W/O PREJ                                                        Sep 23, 2014
5                        W/DRAW OF OPPOSITION                                                                   Sep 02, 2014
4                        W/DRAW OF APPLICATION                                                                  Aug 25, 2014
3                        PENDING, INSTITUTED                                                                    Jul 04, 2014
2                        NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                               Jul 04, 2014       Aug 13, 2014
1                        FILED AND FEE                                                                          May 30, 2014

                                                            Type of Proceeding: Opposition

             Proceeding 91186958                                                    Filing Date: Oct 14, 2008
               Number:
                Status: Terminated                                                 Status Date: Sep 16, 2009
            Interlocutory CHERYL S GOODMAN
                Attorney:
                                                                         Defendant
                 Name: Obadia Alain
       Correspondent Leonard Budow
            Address: Leonard N Budow PC
                     Ste 4613 350 5th Avenue
                     New York NY UNITED STATES , 10118-4613
     Correspondent e- lb@budowlaw.us
                mail:
Associated marks
                                                                                                                                     Registration
     Mark                                                                                Application Status        Serial Number
                                                                                                                                     Number
IN & OUT                                                                                                        77283492
                                                                         Plaintiff(s)
                 Name: In-N-Out Burgers
       Correspondent Ariana Gallisa
            Address: Pillsbury Winthrop Shaw Pittman LLP
                     P.O. Box 7780, Calendar/Docketing Dept.
                     San Francisco CA UNITED STATES , 94120-7880
     Correspondent e- sftrademarks@pillsburylaw.com , ariana.gallisa@pillsburylaw.com
                mail:
Associated marks
                                                                                                                                     Registration
     Mark                                                                                Application Status        Serial Number
                                                                                                                                     Number
IN-N-OUT                                                                                                        73133175           1085163
IN-N-OUT                                                                                                        73133176           1101628
IN-N-OUT                                                                                                        73133174           1101638
IN-N-OUT                                                                                                        73738305           1522799
IN-N-OUT                                                                                                        73738306           1525982
IN-N-OUT                                                                                                        75396996           2217307
IN-N-OUT                                                                                                        75137201           2285823
IN 'N' OUT                                                                                                      72389754           930203
ENTRADA-Y-SALIDA                                                                                                74599705           2048138
                                                                    Prosecution History
     Entry Number           History Text                                                                           Date              Due Date
13                       TERMINATED                                                                             Sep 16, 2009
               Case 8:25-cv-01335               Document 1-4         Filed 06/20/25             Page 7 of 12 Page ID #:55


12                       BOARD'S DECISION: SUSTAINED                                                       Sep 16, 2009
11                       WITHDRAWAL OF APPLICATION                                                         Sep 15, 2009
10                       CHANGE OF CORRESPONDENCE ADDRESS                                                  Aug 21, 2009
9                        APPEARANCE                                                                        Aug 21, 2009
8                        SUSPENDED                                                                         Jul 07, 2009
7                        STIP TO SUSPEND PEND SETTLEMENT NEGOTNS                                           Jul 07, 2009
6                        ANSWER                                                                            Jan 20, 2009
5                        EXTENSION OF TIME GRANTED                                                         Oct 24, 2008
4                        STIPULATION FOR AN EXTENSION OF TIME                                              Oct 24, 2008
3                        PENDING, INSTITUTED                                                               Oct 14, 2008
2                        NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                          Oct 14, 2008       Nov 23, 2008
1                        FILED AND FEE                                                                     Oct 14, 2008

                                                          Type of Proceeding: Opposition

             Proceeding 91186018                                               Filing Date: Aug 16, 2008
               Number:
                Status: Terminated                                            Status Date: May 28, 2009
            Interlocutory MARY CATHERINE FAINT
                Attorney:
                                                                    Defendant
                 Name: Brian Quaglia and Sandra Quaglia
       Correspondent Brian Quaglia
            Address: 77 Peck Street
                     Rehoboth MA UNITED STATES , 02886
Associated marks
                                                                                                                                Registration
     Mark                                                                           Application Status        Serial Number
                                                                                                                                Number
IN & OUT                                                                                                   76687302
                                                                    Plaintiff(s)
                 Name: In-N-Out Burgers
       Correspondent Edward O. Ansell
            Address: Law Office of Edward O. Ansell
                     427 N. Yale Avenue, Suite 204
                     Claremont CA UNITED STATES , 91711
     Correspondent e- anselaw@verizon.net
                mail:
Associated marks
                                                                                                                                Registration
     Mark                                                                           Application Status        Serial Number
                                                                                                                                Number
IN-N-OUT                                                                                                   75137201           2285823
IN-N-OUT BURGER                                                                                            73724456           1514689
IN-N-OUT BURGER                                                                                            74622923           1960015
IN-N-OUT                                                                                                   73133175           1085163
IN-N-OUT                                                                                                   73738305           1522799
IN-N-OUT                                                                                                   73738306           1525982
IN-N-OUT                                                                                                   73133176           1101628
IN-N-OUT                                                                                                   73133174           1101638
IN-N-OUT                                                                                                   75396996           2217307
                                                                Prosecution History
     Entry Number           History Text                                                                      Date              Due Date
18                       TERMINATED                                                                        May 28, 2009
17                       BOARD'S DECISION: SUSTAINED                                                       May 28, 2009
16                       COPY #15                                                                          May 26, 2009
15                       WITHDRAWAL OF APPLICATION                                                         May 21, 2009
14                       SUSPENDED PENDING DISP OF OUTSTNDNG MOT                                           May 05, 2009
13                       P'S MOTION FOR SUMMARY JUDGMENT                                                   Apr 28, 2009
               Case 8:25-cv-01335               Document 1-4          Filed 06/20/25             Page 8 of 12 Page ID #:56

12                       D'S UNDELIVERABLE MAIL                                                             Apr 13, 2009
11                       P'S RESPONSE TO BOARD ORDER/INQUIRY                                                Apr 09, 2009
10                       TRIAL DATES SET                                                                    Apr 03, 2009
9                        COPY #8 W/CERTIFICATE OF SERVICE                                                   Apr 01, 2009
8                        P'S MOTION TO JOIN INDISPENSIBLE PARTY                                             Mar 30, 2009
7                        TRIAL DATES RESET                                                                  Mar 13, 2009
6                        SUSPENDED PENDING DISP OF OUTSTNDNG MOT                                            Oct 10, 2008
5                        P'S OPPOSITION/RESPONSE TO MOTION                                                  Sep 26, 2008
4                        ANSWER                                                                             Sep 15, 2008
3                        PENDING, INSTITUTED                                                                Aug 26, 2008
2                        NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                           Aug 26, 2008      Oct 05, 2008
1                        FILED AND FEE                                                                      Aug 16, 2008

                                                           Type of Proceeding: Opposition

             Proceeding 91183888                                                Filing Date: May 05, 2008
               Number:
                Status: Terminated                                             Status Date: Jun 13, 2013
            Interlocutory ANN LINNEHAN VOGLER
                Attorney:
                                                                     Defendant
                 Name: Fast Lane Car Wash & Lube, L.L.C.
       Correspondent RICHARD L SCHNAKE
            Address: THE LAW FIRM OF NEALE & NEWMAN LLP
                     PO BOX 10327
                     SPRINGFIELD MO UNITED STATES , 65808-0327
     Correspondent e- DWooten@nnlaw.com
                mail:
Associated marks
                                                                                                                                Registration
     Mark                                                                            Application Status       Serial Number
                                                                                                                                Number
IN & OUT CAR WASH                                                                                           77234104
                                                                     Plaintiff(s)
                 Name: In-N-Out Burgers
       Correspondent ROBERT J LAUSON
            Address: LAUSON AND TARVER LLP
                     880 APOLLO STREET, SUITE 301
                     EL SEGUNDO CA UNITED STATES , 90245
     Correspondent e- bob@lauson.com , edwin@lauson.com
                mail:
Associated marks
                                                                                                                                Registration
     Mark                                                                            Application Status       Serial Number
                                                                                                                                Number
IN-N-OUT                                                                                                    73133175          1085163
IN-N-OUT                                                                                                    73738305          1522799
IN-N-OUT                                                                                                    73738306          1525982
IN-N-OUT                                                                                                    73133176          1101628
IN-N-OUT                                                                                                    73133174          1101638
IN-N-OUT                                                                                                    75396996          2217307
IN-N-OUT BURGER                                                                                             73724456          1514689
IN-N-OUT BURGER                                                                                             74622923          1960015
IN-N-OUT BURGER                                                                                             76669013          3367471
                                                                 Prosecution History
     Entry Number           History Text                                                                      Date              Due Date
84                       TERMINATED                                                                         Jun 13, 2013
83                       BD DECISION: DISMISSED                                                             Mar 14, 2013
82                       DEFENDANT'S NOTICE OF RELIANCE EXHIBITS                                            Nov 07, 2011
81                       DEFENDANT'S NOTICE OF RELIANCE EXHIBITS                                            Nov 07, 2011
     Case 8:25-cv-01335          Document 1-4        Filed 06/20/25    Page 9 of 12 Page ID #:57

80         DEFENDANT'S NOTICE OF RELIANCE EXHIBITS                            Nov 07, 2011
79         DEFENDANT'S NOTICE OF RELIANCE EXHIBITS                            Nov 07, 2011
78         DEFENDANT'S NOTICE OF RELIANCE EXHIBITS                            Nov 07, 2011
77         DEFENDANT'S NOTICE OF RELIANCE EXHIBITS 862-879                    Nov 07, 2011
76         SUBMITTED ON BRIEF                                                 Apr 11, 2012
75         PLAINTIFF'S NOTICE OF RELIANCE                                     Apr 04, 2012
74         P'S REBUTTAL BRIEF                                                 Apr 02, 2012
73         FINAL BRIEF ON MERITS FOR DEFENDANT(S)                             Mar 16, 2012
72         BRIEF ON MERITS FOR PLAINTIFF                                      Feb 14, 2012
71         P'S NOTICE OF TAKING TESTIMONY                                     Feb 07, 2012
70         PLAINTIFF'S NOTICE OF RELIANCE                                     Jan 03, 2012
69         PLAINTIFF'S NOTICE OF RELIANCE                                     Dec 28, 2011
68         PLAINTIFF'S NOTICE OF RELIANCE                                     Dec 16, 2011
67         PLAINTIFF'S NOTICE OF RELIANCE                                     Dec 28, 2011
66         DEFENDANT'S NOTICE OF RELIANCE                                     Nov 07, 2011
65         DEFENDANT'S NOTICE OF RELIANCE                                     Nov 07, 2011
64         DEFENDANT'S NOTICE OF RELIANCE                                     Nov 07, 2011
63         DEFENDANT'S NOTICE OF RELIANCE                                     Nov 07, 2011
62         DEFENDANT'S NOTICE OF RELIANCE                                     Nov 07, 2011
61         DEFENDANT'S NOTICE OF RELIANCE                                     Nov 07, 2011
60         DEFENDANT'S NOTICE OF RELIANCE                                     Nov 07, 2011
59         TESTIMONY FOR DEFENDANT                                            Nov 18, 2011
58         TESTIMONY FOR DEFENDANT                                            Nov 18, 2011
57         P'S REBUTTAL PRETRIAL DISCLOSURES                                  Nov 17, 2011
56         D'S NOTICE OF DEPOSITIONS                                          Oct 21, 2011
55         D'S PRETRIAL DISCLOSURES                                           Sep 16, 2011
54         PLAINTIFF'S NOTICE OF RELIANCE                                     Sep 09, 2011
53         PLAINTIFF'S NOTICE OF RELIANCE                                     Sep 09, 2011
52         EXTENSION OF TIME GRANTED                                          Jun 17, 2011
51         P'S MOT FOR EXTEN. OF TIME W/ CONSENT                              Jun 17, 2011
50         EXTENSION OF TIME GRANTED                                          May 19, 2011
49         STIPULATION FOR AN EXTENSION OF TIME                               May 19, 2011
48         EXTENSION OF TIME GRANTED                                          Apr 11, 2011
47         STIPULATION FOR AN EXTENSION OF TIME                               Apr 11, 2011
46         EXTENSION OF TIME GRANTED                                          Mar 17, 2011
45         STIPULATION FOR AN EXTENSION OF TIME                               Mar 17, 2011
44         BOARD'S ORDER TRIAL DATES REMAIN AS PREVIOUSLY SET                 Feb 28, 2011
43         APPEARANCE                                                         Feb 25, 2011
42         EXTENSION OF TIME GRANTED                                          Feb 18, 2011
41         STIPULATION FOR AN EXTENSION OF TIME                               Feb 18, 2011
40         EXTENSION OF TIME GRANTED                                          Jan 19, 2011
39         STIPULATION FOR AN EXTENSION OF TIME                               Jan 19, 2011
38         EXTENSION OF TIME GRANTED                                          Oct 28, 2010
37         STIPULATION FOR AN EXTENSION OF TIME                               Oct 28, 2010

36         D'S MOTION TO CONDUCT DEPO BY VIDEO CONFERENCE GRANTED/REMAINING Sep 20, 2010
           TRIAL DATES RESET
35         P'S MOTION TO QUASH                                                Sep 09, 2010
34         P'S OPPOSITION/RESPONSE TO MOTION                                  Sep 07, 2010
33         D'S MOTION TO COMPEL DISCOVERY                                     Aug 27, 2010
32         EXTENSION OF TIME GRANTED                                          Jul 22, 2010
31         STIPULATION FOR AN EXTENSION OF TIME                               Jul 22, 2010
30         ANSWER                                                             Jul 22, 2010
29         RESPONSE DUE 30 DAYS (DUE DATE)                                    Jun 23, 2010   Jul 23, 2010
28         CHANGE OF CORRESPONDENCE ADDRESS                                   Feb 09, 2010
27         D'S OPPOSITION/RESPONSE TO MOTION                                  Jan 19, 2010
26         SUSPENDED PENDING DISP OF OUTSTNDNG MOT                            Jan 07, 2010
              Case 8:25-cv-01335                Document 1-4        Filed 06/20/25             Page 10 of 12 Page ID #:58


25                       P'S MOTION TO AMEND PLEADING/AMENDED PLEADING                                     Jan 04, 2010
24                       P'S MOTION TO AMEND PLEADING/AMENDED PLEADING                                     Jan 04, 2010
23                       PL'S MOT. FOR SUMM. JUDGMENT DENIED                                               Dec 29, 2009
22                       P'S REPLY IN SUPPORT OF MOTION                                                    Oct 30, 2009
21                       D'S OPPOSITION/RESPONSE TO MOTION                                                 Oct 15, 2009
20                       AMENDED ANSWER                                                                    Sep 14, 2009
19                       SUSPENDED                                                                         Aug 17, 2009
18                       D'S REPLY IN SUPPORT OF MOTION                                                    May 26, 2009
17                       P COMMUNICATION                                                                   May 08, 2009
16                       P'S OPPOSITION/RESPONSE TO MOTION                                                 May 08, 2009
15                       SUSPENDED PENDING DISP OF OUTSTNDNG MOT                                           May 01, 2009
14                       D'S RESP2 O'S MSJ-56(F)                                                           Apr 24, 2009
13                       D'S MOTION TO COMPEL DISCOVERY                                                    Apr 24, 2009
12                       SUSPENDED PENDING DISP OF OUTSTNDNG MOT                                           Apr 16, 2009
11                       P'S MOTION FOR AN EXTENSION OF TIME                                               Apr 13, 2009
10                       P'S MSJ AND M4LV2 AMEND NOO                                                       Apr 11, 2009
9                        Unsigned copy of #10                                                              Apr 11, 2009
8                        TRIAL DATES RESET                                                                 Dec 16, 2008
7                        D'S MOTION TO COMPEL DISCOVERY                                                    Dec 11, 2008
6                        EXTENSION OF TIME GRANTED                                                         Aug 06, 2008
5                        STIPULATION FOR AN EXTENSION OF TIME                                              Aug 06, 2008
4                        ANSWER                                                                            Jun 12, 2008
3                        PENDING, INSTITUTED                                                               May 05, 2008
2                        NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                          May 05, 2008      Jun 14, 2008
1                        FILED AND FEE                                                                     May 05, 2008

                                                          Type of Proceeding: Opposition

             Proceeding 91183495                                               Filing Date: Apr 11, 2008
               Number:
                Status: Terminated                                            Status Date: Jul 07, 2008
            Interlocutory ANN LINNEHAN VOGLER
                Attorney:
                                                                    Defendant
                 Name: John Robinson Pratt
       Correspondent John Robinson Pratt
            Address: 501 Hahaione Street, Apt. 9H
                     Honolulu HI UNITED STATES , 96825-1447
     Correspondent e- pioneerdigitalmedia@hawaii.rr.com
                mail:
Associated marks
                                                                                                                               Registration
     Mark                                                                           Application Status       Serial Number
                                                                                                                               Number
PUNCH IN & OUT                                                                                             77224114
                                                                    Plaintiff(s)
                 Name: In-N-Out Burgers
       Correspondent Edward O. Ansell
            Address: Law Office of Edward O. Ansell
                     427 N. Yale Ave.Suite 204
                     Claremont CA UNITED STATES , 91711
     Correspondent e- anselaw@verizon.net
                mail:
Associated marks
                                                                                                                               Registration
     Mark                                                                           Application Status       Serial Number
                                                                                                                               Number
IN-N-OUT                                                                                                   75137201          2285823
IN-N-OUT                                                                                                   73133175          1085163
IN-N-OUT                                                                                                   73738305          1522799
               Case 8:25-cv-01335                Document 1-4       Filed 06/20/25             Page 11 of 12 Page ID #:59

IN-N-OUT                                                                                                   73738306           1525982
                                                                Prosecution History
     Entry Number            History Text                                                                     Date              Due Date
7                         TERMINATED                                                                       Jul 07, 2008
6                         BD'S DECISION: DISMISSED W/O PREJUDICE                                           Jul 07, 2008
5                         WITHDRAWAL OF OPPOSITION                                                         Jun 07, 2008
4                         P'S MOT TO SUSP PEND SETLMT NEGOTIATIONS                                         Apr 15, 2008
3                         PENDING, INSTITUTED                                                              Apr 11, 2008
2                         NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                         Apr 11, 2008       May 21, 2008
1                         FILED AND FEE                                                                    Apr 11, 2008

                                                        Type of Proceeding: Opposition

             Proceeding 91162034                                               Filing Date: Aug 20, 2004
               Number:
                Status: Terminated                                            Status Date: Sep 09, 2004
            Interlocutory LINDA M SKORO
                Attorney:
                                                                    Defendant
                 Name: Esquire Ltd., Inc.
       Correspondent Edward J. Quirk
            Address: Quirk & Tratos
                     3773 Howard Hughes Parkway Suite 500 Nor
                     Las Vegas NV UNITED STATES , 89109
Associated marks
                                                                                                                                Registration
     Mark                                                                           Application Status        Serial Number
                                                                                                                                Number
IN AND OUT                                                                                                 78266610
                                                                    Plaintiff(s)
                 Name: IN-N-OUT BURGERS
       Correspondent EDWARD O. ANSELL
            Address: 427 N. YALE AVENUE, #204
                     CLAREMONT CA UNITED STATES , 91711-4340
Associated marks
                                                                                                                                Registration
     Mark                                                                           Application Status        Serial Number
                                                                                                                                Number
IN-N-OUT                                                                                                   73738306           1525982
                                                                Prosecution History
     Entry Number            History Text                                                                     Date              Due Date
11                        TERMINATED                                                                       Jan 29, 2005
10                        BOARD'S DECISION: SUSTAINED                                                      Jan 26, 2005
9                         PL mot for judgement                                                             Jan 10, 2005
8                         VOLUNTARY SURRENDER OF REGISTRATION                                              Dec 29, 2004
7                         P'S MOT FOR EXTEN. OF TIME W/ CONSENT                                            Dec 13, 2004
6                         DEF'S MOTION FOR EXT APPROVED                                                    Oct 28, 2004
5                         ANSWER                                                                           Oct 25, 2004
4                         OTHER FILING                                                                     Oct 18, 2004
3                         PENDING, INSTITUTED                                                              Sep 09, 2004
2                         NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                         Sep 09, 2004       Oct 19, 2004
1                         FILED AND FEE                                                                    Aug 20, 2004
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